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                                                                             FILED
                         UNITED STATES COURT OF APPEALS                       DEC 17 2020

                                                                          MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




 RAHINAH IBRAHIM, an individual,                  No.    14-16161

                 Plaintiff-Appellant,             D.C. No. 3:06-cv-00545-WHA
                                                  Northern District of California,
 v.                                               San Francisco

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; et al.,                                ORDER

                 Defendants-Appellees.

Before: Peter L. Shaw, Appellate Commissioner.

        Appellant’s motion (Docket Entry No. 124) to withdraw her motion for

attorneys’ fees, pursuant to the parties’ settlement, is granted. The court will take

no further action on the fee motion (Docket Entry No. 106).




gml/Appellate Commissioner                                                     14-16161+
